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                        IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF HAWAI'I


 R.P.-K., etc., et al.,                        CIVIL NO. CV10 00436 DAE-KSC
                                               (Other Civil Action)
                   Plaintiffs,
                                               MEMORANDUM IN SUPPORT OF
          vs.                                  MOTION

 DEPARTMENT OF EDUCATION,
 State of Hawai‘i,

                   Defendants.




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                      MEMORANDUM IN SUPPORT OF MOTION

 I.       INTRODUCTION
                   On June 23, 2011, Plaintiffs filed their Motion for Preliminary

 Injunction. This Court denied the motion without prejudice because there was

 inadequate evidence in the record to demonstrate a likelihood of success on the

 merits. Order Denying Plaintiffs' Motion for a Preliminary Injunction Without

 Prejudice, entered July 12, 2011 [53] ("Order"). Specifically, the Court found no

 evidence in the record that "the DOE has adopted a practice whereby general

 education students of the same age are allowed to continue their secondary

 education in adult education programs with regularity." Order at 8.

                   On July 27, 2011, Plaintiffs took the deposition of two representatives

 of Defendant Department of Education of the State of Hawai`i ("DOE") pursuant

 to FRCP Rule 30(b)(6). The excerpts of those depositions and deposition exhibits

 attached to this motion prove that the DOE does have a practice of allowing

 students between the ages of 20 and 22 to continue their education in the

 community schools, despite the passage of Act 163. Indeed, hundreds of students

 in that age range are currently working towards a high school equivalency diploma

 in the community schools. For this reason, Plaintiffs are likely to succeed on the

 merits of their claim under the Individuals with Disabilities Education Act

 (“IDEA”), 20 U.S.C. 1400, et seq.


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                   Furthermore, the movants will suffer irreparable harm if a preliminary

 injunction is not granted. K.K., M.W., A.C.K., K.C., A.D., and M.L. are members

 of the Plaintiff class (disabled individuals now or imminently between the ages of

 20 and 22) who had until recently been receiving education and related services

 from the DOE under the IDEA. As of July 31, 2011 (at the latest), the DOE had

 ceased offering special education and related services to these and other class

 members who qualify for Extended School Year ("ESY") services.

                   Allowing this interruption of services to continue is likely to cause

 K.K., M.W., A.C.K., K.C., A.D., and M.L. and other class members who qualify

 for ESY irreparable harm in the form of significant regression in their behavioral

 and educational progress and lengthy periods of recoupment.

 II.      FACTUAL AND PROCEDURAL BACKGROUND

          A.       B.T. and Act 163
                   The IDEA requires each state to provide a free appropriate public

 education ("FAPE") to "all children with disabilities ... between the ages of 3 and

 21, inclusive ...." 20 U.S.C. § 1412(a). States may impose different age

 restrictions if those same limitations are applied to general education students as

 well. 20 U.S.C. § 1412(a)(1)(B).

                   In B.T. v. Department of Education, this Court enjoined the State of

 Hawai`i from denying special education services based solely on a student’s


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 attaining the age of 20. The Plaintiff in B.T. had argued that extending a free

 appropriate public education (“FAPE”) to age 22 would be consistent with Hawai`i

 law and practice and that an administrative rule of the DOE that terminated special

 education services at age 20 was therefore inapplicable.

                   This Court granted a preliminary injunction because regular education

 students over 20 could obtain a public education if (i) they met the age limits upon

 entering the ninth or tenth grade, (ii) they received a waiver from the school

 principal, or (iii) they pursued their secondary education in the adult education

 program. B.T. v. Department of Education, Civil No. 08-00356 DAE-BMK, Doc.

 # 22, 2008 WL 3891867 at *5 (D. Haw. Aug. 21, 2008). In granting summary

 judgment in favor of Plaintiff, the Court found that the DOE, in practice, allowed

 "a [general education] student to attend school after 20 years of age" while not

 providing special education students that same opportunity. B.T. v. Department of

 Education, 2009 WL 4884447, at *9 (D. Haw. Dec. 17, 2009).

                   Act 163 – the State law upon which the DOE relied in eliminating

 services to K.K., M.W., A.C.K., K.C., A.D., and M.L. – purports to impose a 20-

 year age limit on admission to public school. HRS § 302A-1134(c). As explained

 further below, Act 163 addressed only two of the three options this Court

 recognized by which overage students could continue their secondary education.




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 General education students are still allowed to pursue secondary education in the

 DOE's adult education program.

          B.       Even After Act 163, the DOE Continues to Provide "Public
                   Education" to Students Between 20 and 22.
                   The depositions of the DOE's 30(b)(6) representatives established the

 following facts, which demonstrate unambiguously that the DOE has continued to

 provide "public education" to students between the ages of 20 and 22 through its

 GED and Competency-Based ("CB") diploma programs, summarized in

 Exhibit "A" to the attached Declaration of Jason H. Kim ("Kim Decl."),1 despite

 the passage of Act 163:

                        As of the effective date of Act 163, 646 students between the

                   ages of 21 and 22 were enrolled in an adult education program in the

                   community schools: (a) 125 in the GED program; (b) 231 in the CB

                   diploma program; and (c) the remainder in the English as a Second

                   Language program or remedial programs who indicated a desire to

                   eventually earn a GED or CB diploma. (Exh. "C" to Kim Decl. at

                   4:13-21 and 5:19-23 and Exh. "D" to Kim Decl.)




 1
   This document was authenticated by the DOE's 30(b)(6) representative. Exh. "B"
 to Kim Decl. at 19:18 – 21:3.



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                         Act 163 had no impact on the adult education program. No one

                    enrolled in the GED or CB programs was disqualified because of

                    Act 163. (Exh. "B" to Kim Decl. at 15:20 – 16:1 and 59:20-25.)

                         There are essentially no qualifications to participate in the GED

                    or CB programs.2 Although the DOE administers screening tests

                    when a student applies, no student is prevented from participating in

                    such programs because of a low score. Furthermore, even those

                    students who demonstrate a lower-than-optimal level of competency

                    are allowed to enroll in remedial classes to obtain the desired level of

                    competency. (Exh. "B" to Kim Decl. at 24:10 – 25:2, 25:22 – 26:17,

                    31:8 – 33:19, and Exh. "E" to Kim Decl.)

                         Although nominal fees are charged to students in connection

                    with the adult education program, the DOE's adult education program

                    is almost entirely funded by state and federal money. (Exh. "B" to

                    Kim Decl. at 38:5 – 39:12 and 42:6-25.)

                         Guidance counselors in the high schools advise students who

                    "age out" of eligibility for high school to continue their education in

  2
    For both programs, a student must be over the age of 18 or have been released
  from compulsory education. Furthermore, to graduate with a GED diploma, the
  student must have had some previous connection to a Hawai`i high school (with
  some exceptions). Neither of these qualifications is relevant to this case.


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                    the DOE's adult education program. (Exh. "C" to Kim Decl. at 18:11

                    – 20:24.)

                          The goal of the adult education diploma programs is to "ensure

                    that the graduates are prepared for transitions to post secondary

                    education and have the necessary skills to become productive

                    members of Hawaii's economic workforce." (Exh. "B" to Kim Decl.

                    at 67:9-20 and Exh. "F" to Kim Decl.)

           C.       K.K.
                    K.K. is a 20-year-old male student diagnosed with severe

  developmental delay, cerebral palsy, limited vision, seizure disorder, and other

  medical diagnoses. Declaration of J.K. dated June 17, 2011 (“J.K. Decl”) at ¶ 2.

  He was most recently enrolled at Leilehua High School and is IDEA eligible.

  K.K.'s most recent Individualized Educational Program ("IEP") provides for ESY

  because the IEP team determined that due to the nature and severity of his

  disability, he suffers serious regression in his education progress if there is an

  interruption in educational services longer than ten consecutive days. Id. at ¶ 6.

                    At an IEP meeting held on February 25, 2011, K.K.’s parents

  requested that he be allowed to continue his education until he turns 22 years old

  with the special education and related services he needs. The DOE rejected the

  request “because under the law no student can stay in school beyond age 20.”


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  Instead, the DOE advised that K.K.’s special education and related services would

  end on July 14, 2011, the last day of extended school year 2011. Id. at ¶ 4.

                    On May 31, 2011, K.K. filed a request for due process seeking an

  order that would continue his special education and related services to age 22. Id.

  at ¶ 5.

            D.      M.W.

                    M.W. is a 21-year-old-IDEA-eligible student diagnosed with

  schizophrenia and anxiety disorder. Declaration of N.W. dated June 16, 2011

  (“N.W. Decl”) at ¶ 2. He was most recently enrolled at Kalani High School. Id. at

  ¶ 3. M.W.’s educational program focused on developing academic skills in the

  areas of reading, writing and language arts. A significant part of M.W.'s

  educational programming also focused on increasing his independence, developing

  coping strategies and other behavioral skills to address his schizophrenia and

  anxiety disorder. Id. at ¶ 6. M.W. qualifies for ESY due to the nature and severity

  of his disabling condition, severe regression and slow rate of recoupment. If there

  is an interruption in educational programming longer than 7 days, M.W. will suffer

  severe regression in the areas of math, language arts, and behavioral skills. Id. at

  ¶ 7.

                    At an IEP team meeting held on March 21, 2011, M.W.’s mother

  requested special education and related services continue until M.W.’s 22nd


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  birthday. The DOE refused the request. In a Prior Written Notice dated March 21,

  2011, the DOE advised that M.W. will no longer be eligible for Special Education

  and related services because he turned 20 years old and pursuant to Hawaii Law,

  he is no longer eligible for services. Id. at ¶ 4.

                    On June 2, 2011, M.W. filed a request for due process seeking an

  order that would continue his special education and related services to age 22. Id.

  at ¶ 5.

            E.      A.C.K.

                    A.C.K. is a 20-year-old-IDEA-eligible student diagnosed with Down

  Syndrome and Autism Spectrum Disorder. Declaration of A.K. dated June 22,

  2011 (“A.K. Decl”) at ¶ 2. She was most recently enrolled at Castle High School

  where she received special education and related services that focused on

  functional academics, prevocational activities, life/social skills building, and

  community based instruction. Id. at ¶¶ 3 and 6. Due to the nature and severity of

  her disabling condition, A.C.K. experiences severe regression and a slow rate of

  recoupment when there is a gap in educational services longer than 5 days. Id. at

  ¶ 7.

                    In a Prior Written Notice dated April 1, 2011, the DOE advised that in

  accordance with Act 163 signed by the Governor on June 3, 2010, A.C.K. will no

  longer be eligible for Special Education and related services as of July 25, 2011


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  (the end of the 2010-2011 extended school year) because she will be 20 years old

  by the end of the 2010-2011 ESY. Id. at ¶ 4.

                    On June 13, 2011, A.C.K. filed a request for due process seeking an

  order that would continue her special education and related services to age 22. Id.

  at ¶ 5.

            F.      K.C.
                    K.C. is a 19-year old student diagnosed with Autism Spectrum

  Disorder, Mental Retardation, and who displays severe Obsessive Compulsive

  Disorder ("OCD")-type behavior. Declaration of B.C. dated June 20, 2011 ("B.C.

  Decl.") at ¶ 2. K.C. most recently attended Castle High School and is eligible to

  receive special education and related services. Id. K.C.'s IEP focuses on

  developing skills in the areas of communication, mathematics, daily living skills,

  community interaction, behavioral skills and vocational skills. K.C.'s IEP team has

  also recognized that she has not yet gained an understanding of personal safety

  while in the community and therefore requires constant one-to-one supervision. Id.

  at ¶ 6.

                    Due to the nature and severity of K.C.'s regression in her educational

  programming, she received ESY services when there is more than a one day break

  in school services. When school is in session, K.C.'s education services were




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  provided until 4:45 p.m. On Saturdays, she received community based instruction

  for 6 hours. Id. at ¶ 7.

                    In a Prior Written Notice dated April 21, 2011, the DOE advised that

  in accordance with Act 163 signed by the Governor on June 3, 2010, A.C.K. will

  no longer be eligible for special education and related services as of July 25, 2011

  (the end of the 2010-11 ESY) because she will be 20 years old by the end of the

  2010-11 ESY. Id. at ¶ 4.

                    On June 15, 2011, K.C. filed a request for due process seeking an

  order that would continue her son's special education and related services to age

  22. Id. at ¶ 5.

           G.       A.D.
                    A.D. is 20 years old and severely disabled by autism and bi-polar

  disorder. He has attended Loveland Academy since age 7. Declaration of L.D.

  dated June 17, 2011 (“L.D. Decl.”) at ¶ 1. A.D. qualifies for ESY under his IEP

  after one day because of the severe regression and behavioral problems he

  experiences when his routine is interrupted. Id. at ¶ 4.

                    At an IEP meeting held on May 23, 2011, A.D.’s mother, L.D.,

  requested special education and related services for her son until he became 22

  years old. The DOE refused the request on the basis of a “new regulation” that

  was adopted to implement Act 163 of the 2010 Session Laws of Hawaii.


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  According to the “regulation,” students who are 20 years old on the first day of

  school are ineligible for admission. Accordingly, L.D. was informed that special

  education and related services for her son will end on July 31, 2011, the last day of

  ESY 2011. Id. at ¶ 2.

                    On June 17, 2011, L.D. filed a request for due process seeking an

  order that would continue her son’s special education and related services to age

  22. Id. at ¶ 3.

           H.       M.L.

                    M.L. is a 20-year old student diagnosed with Autism Spectrum

  Disorder. Declaration of S.T. dated June 17, 2011 ("S.T. Decl.") at ¶ 2. M.L. is

  eligible to receive special education and related services. She attends Loveland

  Academy and her home school is McKinley High School. Id. at ¶ 3. M.L.'s IEP

  focuses on functional academics, social skills, and career – vocational skills

  building. Id. at ¶ 6. Due to the nature and severity of M.L.'s regression in her

  educational programming, she receives ESY services when there is more than a

  two-day break in school services. When school is in session, M.L.'s school day is

  extended by 2-1/2 hours. Id. at ¶ 7.

                    At IEP team meetings held in March, April and May, 2011, M.L.'s

  parent requested that M.L. be allowed to continue her special education and related




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  services until her 22nd birthday. The DOE rejected the request on the grounds that

  state law does not allow students beyond the age of 20 to stay in school. Id. at ¶ 4.

                    On June 15, 2011, M.L. filed for due process seeking an order that

  would continue her special education and related services to age 22. Id. at ¶ 5.

  III.     ARGUMENT

           A.       Standard for a Preliminary Injunction

                    A plaintiff seeking a preliminary injunction must establish that he is

  likely to succeed on the merits, he is likely to suffer irreparable harm in the

  absence of preliminary relief, the balance of equities tips in his favor, and an

  injunction is in the public interest. Winter v. Natural Res. Def. Council, Inc., 555

  U.S. 7, 129 S.Ct. 365, 374, 172 L.Ed.2d 249 (2008); N.D. ex rel. parents v. Hawaii

  Dept. of Educ., 600 F.3d 1104, 1113 (9th Cir. 2010); Am. Trucking Ass’ns. v. City

  of Los Angeles, 559 F.3d 1046, 1052 (9th Cir. 2009). Irreparable harm is that

  which cannot be adequately remedied by money damages and is permanent or at

  least of long duration. Amoco Production Co. v. Gambell, 480 U.S. 531, 545, 107

  S.Ct. 1396, 94 L.Ed.2d 542 (1987).




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           B.       Plaintiffs are Likely to Succeed on the Merits of Their IDEA
                    Claims.3

                    1.    The IDEA Requires the DOE to Offer FAPE to Age 22.

                    The IDEA provides that a FAPE “is available to all children with

  disabilities ... between the ages of 3 and 21, inclusive....” 20 U.S.C. § 1412(a).

  Federal eligibility for special education and related services ends, therefore, when a

  student becomes 22. B.T. v. Department of Education, 637 F. Supp.2d 856, 863,

  fn.9 (D. Haw. 2009). States may impose age limitations, however, to the extent the

  same age limitations are applied to public education generally:

                    The obligation to make [FAPE] available to all children
                    with disabilities does not apply with respect to children –

                       (i) aged 3 through 5 and 18 through 21 in a State to
                    the extent that its application to those children would be
                    inconsistent with State law or practice, or the order of
                    any court, respecting the provision of public education to
                    children in those age ranges....

  20 U.S.C. § 1412(a)(1)(B).

                    Although Act 163 states that “no person who is twenty years of age or

  over on the first day of the school year shall be eligible to attend a public school,”



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    This motion addresses only Plaintiffs' likelihood of success on their IDEA claims.
  If the Court awards Plaintiffs a preliminary injunction based on the IDEA,
  Plaintiffs will have obtained the complete relief they are seeking without the need
  for this Court to consider their claims under Title II of the Americans With
  Disabilities Act, Section 504 of the Rehabilitation Act, or judicial estoppel.


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  (emphasis added), the DOE has a practice of providing a public education to

  general education students over the age of 20, just as it did at the time of this

  Court's opinions in B.T.

                    Despite the enactment of Act 163, hundreds of students who were

  over the age of 20 on the first instructional day of the school year but who are

  under 22 are enrolled in the GED and CB diploma programs or remedial programs

  intended to prepare students to enroll in the diploma programs. Exh. "C" to Kim

  Decl. at 4:13-21 and 5:19-23 and Exh. "D" to Kim Decl. Act 163 had no effect

  whatsoever on these programs. Exh. "B" to Kim Decl. at 15:20 – 16:1 and 59:20-

  25.

                    Furthermore, the GED and CB programs clearly constitute "public

  education." By statute, the DOE is required to provide a program for adults to

  continue their secondary education. H.R.S. § 302A-433(3) (authorizing the DOE

  to establish “[a] program of secondary education for those adults who, in youth,

  left school or for some reason had their education curtailed and who now desire to

  continue their education”). Most of the funding for these programs comes from the

  government and students are charged only nominal fees. Exh. "B" to Kim Decl. at

  38:5 – 39:12 and 42:6-25. The programs are accessible to all who wish to benefit

  from them, regardless of their level of academic competency. Exh. "B" to Kim

  Decl. at 24:10 – 25:2, 25:22 – 26:17, 31:8 – 33:19, and Exh. "E" to Kim Decl. The


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  goal of these programs is the same as the goal of the DOE's K-12 public education

  program: to prepare students for post secondary education and provide necessary

  vocational skills. Exh. "B" to Kim Decl. at 67:9-20 and Exh. "F" to Kim Decl.

                    Finally, in appropriate cases, the guidance counselors in the public

  high schools advise students who age-out of eligibility for high school that they

  may continue their education through the DOE's adult education program.

  Exh. "C" to Kim Decl. at 18:11 – 20:24. See Order at 7 ("To prevail on these

  claims, Plaintiffs must demonstrate that the DOE uses Act 163 as a means of

  denying special education students a FAPE beyond the age of twenty while

  simultaneously ushering general education students of the same age into adult

  education programs to complete their secondary education.")

                    While disabled students are not categorically barred from the DOE's

  adult education programs and some accommodations for their disabilities are

  available, the IDEA requires far more than nominal non-discrimination and

  reasonable accommodations. As the DOE's 30(b)(6) representative admitted, no

  IDEA or special education services are available in the adult education programs.

  Exh. "B" to Kim Decl. at 62:2-19 and 65:18-25.

                    Providing disabled students FAPEs until the age of 22 would not be

  inconsistent with any Hawai`i law or practice. Act 163 has not been interpreted to

  prevent the DOE's community schools from providing a public education to


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  students between the ages of 20-22 and indeed, as a matter of practice, the DOE's

  community schools have offered a public education to hundreds of students in that

  age range since the enactment of Act 163. Plaintiffs are therefore entitled to

  FAPEs until they reach the age of 22 and Plaintiffs are likely to succeed on the

  merits of their claims under the IDEA.

           C.       K.K., M.W., A.C.K., K.C., A.D., and M.L. Will Likely Suffer
                    Irreparable Harm if Services are Interrupted.

                    The Ninth Circuit has held that closing Hawai`i’s public schools for

  17 “furlough Fridays” would cause irreparable harm to disabled students because

  they would suffer regression in behavior, increased difficulty with activities, and

  outbursts of frustration and violence. N.D. ex rel. parents v. Hawaii Dept. of

  Educ., supra, 600 F.3d at 1113. The declarations and exhibits submitted in support

  of this motion show that K.K., M.W., A.C.K., K.C., A.D., and M.L. (each of whom

  qualified for ESY) would suffer similar irreparable harm if their services are

  abruptly ended. Indeed, all the individual movants – as well as the other class

  members on whose behalf this motion is brought – have been found by the DOE to

  require ESY because they would be harmed by any sustained interruption in

  services.

                    K.K. would suffer serious regression of his educational and life skills

  because he has a difficult time maintaining the level of skills he has learned after a

  ten-day interruption in services. J.K. Decl. at ¶ 6. Maintaining behavioral skills is

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  critical for K.K. He has a history of engaging in severe self-injurious behavior

  such as head banging when he is frustrated and wants to communicate pain or

  discomfort. This behavior, which has been exhibited multiple times per day, can

  cause damage to the shunt in the upper right side of his head. Id. at ¶ 7.

                    M.W. receives ESY because he suffers severe regression in both

  academics and behavioral skills. Without continued educational services M.W.

  would become withdrawn, non-responsive, isolate himself from others, and the

  symptoms of his schizophrenia would increase. N.W. Decl. at ¶ 7.

                    Due to the extent of A.C.K.’s regression, her IEP team has determined

  that A.C.K. requires educational services beyond the normal school day until

  4:30 p.m. while school is in session. She also receives four hours of educational

  services on Saturdays. A.K. Decl. at ¶ 7. Without continued services, A.C.K.

  would suffer severe regression in behavior and engage in tantrums and self-

  injurious behavior, such as head banging and hitting her face with her fist. Id. at

  ¶ 7.

                    K.C. qualifies for ESY after a one-day interruption in services. While

  school is in session, K.C. receives educational services until 4:45 p.m. during the

  week, and six hours on Saturdays. Without continuity in her educational

  programming, K.C.’s severe tantruming, screaming, obsessive compulsive




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  behavior, and self-injurious behavior would be exacerbated and more difficult to

  redirect. B.C. Decl. at ¶ 7.

                    A.D. would suffer “severe regression” if his educational program

  were interrupted for more than one day because of his need for a carefully

  structured routine. In order to benefit from his education and not regress, he

  requires the support of a 1:1 aide at all times during the school day and for 2-1/2

  hours after school each day. When his routine is changed abruptly, he sometimes

  responds aggressively, threatening himself, family members, and caregivers. L.D.

  Decl at ¶¶ 4, 5.

                    M.L. relies on structure and a routine in order to function in her daily

  life. Without the frequent and consistent prompting to use her communication

  skills provided by continued educational services, she would lose those skills. She

  would use verbal expression less frequently, use fewer words, revert to using

  inappropriate words to express herself, and ultimately become frustrated and

  withdrawn.

                    Other members of the Plaintiff Class who qualify for Extended School

  Year services would also be irreparably harmed by an interruption of educational

  services. In Virginia S. ex rel. Rachael M. v. Department of Educ., Hawaii, Civil

  No. 06-00128 JMS-LEK, 2007 WL 80814 (D. Haw. 2007), the court noted that

  ESY “is the exception and not the rule under the regulatory scheme [citation


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  omitted],” and that it is available only where there is a likelihood of regression and

  slow recoupment without ESY or “significant jeopardy” to the student. Id. at *12.

  It follows that an IEP team’s decision that a student qualifies for ESY is a

  sufficient basis for this Court to find, under N.D. ex rel. parents v. Hawaii Dept. of

  Educ., supra, 600 F.3d at 1113, that an interruption of services for the period ESY

  is triggered (one day, 2, 5, 10, or something else) would be likely to cause

  irreparable harm. All class members who meet the ESY standard should,

  therefore, be protected by the preliminary injunction.

           D.       The Balance of Hardships Favors Granting a Preliminary
                    Injunction.

                    Compared to the likelihood of irreparable harm to K.K., M.W.,

  A.C.K., K.C., A.D., and M.L. and the other class members who qualify for ESY

  services, the DOE will experience no meaningful hardship if a preliminary

  injunction is granted. The DOE has been providing them with special educational

  services under the IDEA in public schools for several years and its personnel are

  familiar with their needs. Continuing to provide such services under existing IEPs

  for a few more weeks and/or months will not cause the DOE any significant

  hardship.

                    Moreover, the effect of an injunction on the DOE would be merely

  financial. As the court noted in W.H. v. Clovis Unified School District, 2009 WL

  2959849 (E.D. Cal. 2009), in ordering the school district to provide educational

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  services under the IDEA during the pendency of an appeal to determine whether

  such services were required, when “[f]aced with … a conflict between financial

  concerns and preventable human suffering, we have little difficulty concluding that

  the balance of hardships tips decidedly in favor of the latter.” 2009 WL 2959849

  at * 7 (E.D. Cal. Sept. 10, 2009), quoting Golden Gate Rest. Ass’n v. City of San

  Francisco, 512 F.3d 1112, 1126 (9th Cir., 2008).

           E.       The Public Interest Supports a Preliminary Injunction.

                    The IDEA embodies a strong public policy in favor of providing a

  free and appropriate public education to disabled individuals up through the age of

  21. 20 U.S.C. § 1412(a). See W.H. v. Clovis Unified School District, supra at * 7

  (because “Congress enacted the IDEA to ensure ‘all children with disabilities have

  available to them a free appropriate public education ... the public’s interest in

  protecting the needs of children with disabilities in education tips the balance in

  Student’s favor”), quoting 20 U.S.C. § 1400(d)(1)(A).

                    The IDEA itself embodies a policy of maintaining the child’s

  placement until disputes about IDEA eligibility are resolved. The IDEA allows

  individuals to present a complaint with respect to any matter relating to the

  provision of FAPE, 20 U.S.C. § 1415(b)(6), and during the pendency of such

  complaint, “the child shall remain in the then-current educational placement ...

  until all such proceedings have been completed.” 20 U.S.C. § 1415(j). “Such


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  proceedings” includes appeals to the federal courts. Joshua A. v. Rocklin Unified

  School Dist., 559 F.3d 1036 (9th Cir. 2009) (“[w]e ... reject the District's position

  that the plain language of the stay put provision excludes appeals from final

  judgments of the district courts from civil actions”). Public policy therefore

  supports imposing the equivalent of a “stay put” order until the conclusion of this

  litigation.

  IV.      CONCLUSION

                    Based on the foregoing, Plaintiffs request that the Court issue, after

  hearing, a preliminary injunction requiring the DOE to continue to provide until

  the conclusion of this litigation educational and related services to K.K., M.W.,

  A.C.K., K.C., A.D., and M.L. and to all other members of the Plaintiff class who

  have qualified for Extended School Year services.

                    DATED: Honolulu, Hawai`i, August 1, 2011.


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